            Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 21-CR-38 (CRC)
       v.                                     :
                                              :
RICHARD BARNETT,                              :
                                              :
                Defendant.                    :

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION IN LIMINE TO
               PRECLUDE USE OF CERTAIN LANGUAGE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Defendant’s Motion in Limine

to Preclude Use of Certain Language, Terms, and False Associations (“Def.’s Mot.”), ECF No. 75.

Defendant Richard Barnett, who is charged in connection with events at the U.S. Capitol on

January 6, 2021, requests that the Court “preclude the [g]overnment’s use of, or elicitation through

its witnesses and visual evidence, of falsehoods, crimes not charged, and other inflammatory

language, terms, and allegations[.]” Def.’s Mot. at 1. But really, the defendant’s motion in limine

asks that the Court prevent the government from using language and evidence that accurately

establishes and describes the defendant’s crimes. The material the defendant seeks to exclude

fairly describes the riot, rioters, and his conduct, and the Court should deny his motion.

       Evidence is relevant if “it has any tendency to make a fact more or less probable than it

would be without the evidence; and the fact is of consequence in determining the action.” Fed. R.

Evid. 401. “The general rule is that relevant evidence is admissible,” United States v. Foster, 986

F.2d 541, 545 (D.C. Cir. 1993), a “liberal” standard, United States v. Moore, No. 18-cr-198, 2022

WL 715238, at *2 (D.D.C. Mar. 10, 2022).           Additionally, Rule 403 does not require the

government “to sanitize its case, to deflate its witnesses’ testimony or to tell its story in a
          Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 2 of 7




monotone.” United States v. Gartmon, 146 F.3d 1015, 1021 (D.C. Cir. 1998). Neither Rule 401

nor 403 supports the defendant’s requested relief.

        First, the defendant argues that the Court should bar terms like “‘terrorism,’ ‘terrorist,’

‘insurrection,’ ‘insurrectionist,’ ‘mob,’ ‘rioter,’ ‘treason,’ ‘traitor,’ ‘sedition,’ ‘conspiracy,’ ‘attack

on the Capitol,’ ‘attack on democracy,’ ‘threat to democracy,’ ‘attack on Congress,’ [and] ‘white

supremacy/supremacists[.]’” Id. According to the defendant, such terms “would clearly confuse

the issues, mislead, and inflame the jury[.]” Id. at 5. Evidence or language is unfairly prejudicial

if it has “an undue tendency to suggest decision on an improper basis, commonly, though not

necessarily, an emotional one.” United States v. Sanford Ltd., 878 F. Supp. 2d 137, 143 (quoting

Fed. R. Evid. 403, advisory committee’s note). By their very nature, criminal charges involve an

accusation that someone has wronged another person or has wronged society. Accordingly, such

charges arouse emotion—and there is nothing improper about that. Indeed, while cautioning

against prosecutorial misconduct in United States v. Berger, the Supreme Court simultaneously

recognized that “[t]he United States Attorney . . . may prosecute with earnestness and vigor—

indeed, he should do so.” Berger, 295 U.S. 78, 88 (1935). “[T]he law permits the prosecution

considerable latitude to strike ‘hard blows’ based on the evidence and all reasonable inferences

therefrom.” United States v. Rude, 88 F.3d 1538, 1548 (9th Cir. 1996) (quoting United States v.

Baker, 10 F.3d 1374, 1415 (9th Cir. 1993)). When a prosecutor’s comments fairly characterize

the offense, fairly characterize the defendant’s conduct, and represent fair inferences from the

evidence, they are not improper. Cf. Rude, 88 F.3d at 1548 (the use of words like victim, deceit,

outlandish, gibberish, charlatan, and scam was not improper); Guam v. Torre, 68 F.3d 1177, 1180

(9th Cir. 1995) (“[T]here is no rule [of evidence or ethics] requiring the prosecutor to use a

euphemism for [a crime] or preface it by the word ‘alleged.’”).



                                                    2
          Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 3 of 7




       Here, the government should not be required to dilute its language and step gingerly around

the defendant’s crimes. Contrary to the defendant’s insinuations, what took place on January 6,

2021, was in fact a riot involving rioters, and an attack on the United States Capitol, the

government of the United States, and American democracy. Indeed, after carefully considering

the facts of other January 6 cases, many other members of this Court have recognized the riot as

just such an attack. See, e.g., United States v. Mostofsky, 1:21-cr-138 (JEB), Sent. Tr. at 40–41,

May 6, 2022 (describing the riot as an “attack,” describing the Capitol as “overrun,” and describing

Mostofsky and other rioters as engaged in “an attempt to undermine [our] system of

government.”); United States v. Rubenacker, 1:21-cr-193 (BAH), Sent. Tr. at 147–48, May 26,

2022 (describing the defendant as “part of this vanguard of people storming the Capitol Building”

as part of the initial breach, and finding that his conduct “succeeded, at least for a period of time,

in disrupting the proceedings of Congress to certify the 2020 presidential election”); United States

v. Languerand, 1:21-cr-353 (JDB), Sent. Tr. at 33–34, January 26, 2022 (“[T]he effort undertaken

by those who stormed the Capitol . . . involved an unprecedented and, quite frankly, deplorable

attack on our democratic institutions, on the sacred ground of the United States Capitol building,

and on the law enforcement officers who were bravely defending the Capitol and those democratic

values against the mob of which the defendant was a part.”). None of this language is hyperbole;

rather, these findings used vivid and violent language because they described a visceral and violent

event. So, too, will prosecutors need to use appropriate language—and not euphemisms—to

describe the nature and gravity of the defendant’s conduct.

       Next, the defendant argues that the Court ought to exclude “references to places on the

grounds or in the Capitol where he did not go[,]” Def.’s Mot. at 1, and “[s]ummary witnesses” that




                                                  3
          Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 4 of 7




would testify regarding the larger events that occurred at the Capitol on January 6, 2021, id. at 2. 1

To be sure, to convict him, the jury must find that the defendant committed each offense with

which he is specifically charged. It is not enough for the government to show that the defendant

was simply present near others who committed crimes across the Capitol building and grounds.

But the defendant’s argument ignores the nature of these crimes as a collective action. It was the

mob’s collective action that disrupted Congress, and the defendant’s knowledge of the collective

riot bears on his mens rea for each of the charged offenses.

       To that end, the government’s evidence will demonstrate how the mob’s concerted efforts

disrupted Congress. Like the defendant, none of the rioters were authorized to enter the Capitol.

Like the defendant, none of them submitted to screening by the U.S. Capitol Police. And law

enforcement officer witnesses will explain that, in expelling rioters, they could not distinguish

between those rioters who were overtly violent and those who were not: everyone had to leave.

This is because law enforcement could not predict who would act violently; any member of the

crowd might be a threat to them. Indeed, throughout the day, individual officers found their

attention divided by the need to monitor the whole crowd, rather than focusing on a specific

individual. But for the defendant’s actions alongside so many others, the riot likely would have

failed to delay the certification vote. See United States v. Mazzocco, No. 21-cr-54, Tr. 10/4/2021




1
  The defendant also moves to exclude references to the “Proud Boys,” “Oath Keepers,” Def.’s
Mot. at 1, and “Three Percenters,” id. at 6. To the extent any such references may substantiate the
defendant’s state of mind, the riot’s collective action, or otherwise “logically relate to the matters
that are at issue in the case,” id. at 3, references to these groups will be relevant, and the Court
should not exclude them. For example, in a video recorded by the defendant and posted to
Facebook the night before the events of January 6, 2021, the defendant states in part, “I don’t know
whether to be happy or disappointed. I mean to be quite honest with you, I’d like to see some
Proud Boys out here with us, and at the same time I don’t know where Antifa is so, I guess
tomorrow will be a new day.” The government should be entitled to give context to this statement
of the defendant, which is illustrative of his intent.
                                                  4
          Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 5 of 7




at 25 (“A mob isn’t a mob without the numbers. The people who were committing those violent

acts did so because they had the safety of numbers.”) (statement of Judge Chutkan). While a jury

will judge the defendant based on his own actions, the context of the defendant’s actions will

necessarily be placed before them—that context was a riot. Ultimately, the defendant provides no

legal authority in support of his broad claim that witnesses and government prosecutors must only

describe these events using certain words and with willful ignorance to all relevant contextual

information. 2

       Moreover, the government’s use of any potential summary witnesses or evidence to this

effect would permissibly “help the jury organize and evaluate evidence which is factually complex

and fragmentally revealed in the testimony of a multitude of witnesses throughout the trial.” See

United States v. Lemire, 720 F.2d 1327, 1348 (D.C. Cir. 1983). To be sure, any such aspects of

the government’s case would need to be “accurate and nonprejudicial[,]” United States v.

Fahnbulleh, 752 F.3d 470, 479 (D.C. Cir. 2014), and require “a sufficient foundation[,]” United

States v. Mitchell, 816 F.3d 865, 877 (D.C. Cir. 2016). The defendant does not, and cannot,

substantiate his contention that the government cannot present this information appropriately.

       Finally, the defendant also insists that the government be precluded from stating that

“police were killed[]” and using the term “stun gun[.]” Id. at 1. Regarding the term “stun gun,”



2
  To the extent the defendant seeks exclusion of “irrelevant” material, see Def.’s Mot. at 1 (former
“President Trump’s [ ] Stop the Steal lawsuits), at 2 (“photos taken from [his] phone that are
irrelevant to this case[,]” “guns[,]” previous protests, events, and/or activism[,]” “groups that [the
defendant] participated in”), the defendant begs the question. He is certainly correct that the Court
ought to exclude irrelevant material, and the government will not seek to admit irrelevant evidence.
But the defendant fails to provide (because he cannot) the requisite analysis for this Court to order
any evidence excluded at this stage. In presenting the government’s case, the use of such evidence,
despite the defendant’s bare contention, may be relevant to the extent that evidence bears on the
defendant’s intent and other essential elements of the offenses with which he is charged. Any
more specific challenges should be taken up at trial if the defendant can articulate particularized
objections.
                                                  5
         Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 6 of 7




the Indictment alleges that the defendant carried into the U.S. Capitol a “ZAP Hike N Strike Stun

Gun Walking Stick,” which he had purchased seven days earlier. Indictment, ECF No. 19, at 2.

The manufacturer and the defendant’s point of purchase refer to the weapon as a 950,000 Volt

“stun gun.” See, e.g., https://www.youtube.com/watch?v=1TLq0J-fQfk; https://www.basspro

.com/shop/en/personal-security-products-hike-n-strike-950-000-volt-stun-gun-hiking-stick.        In

fact, the defendant himself has repeatedly referred to that object as a “stun gun” in briefing. See

Def.’s Mot. Mod. Bail, ECF No. 26 (using the term “stun gun” fourteen times). The term “stun

gun” is accurate, applicable, and relevant.     And regarding references to the deaths of law

enforcement officers resulting from the events that transpired on January 6, the defendant’s

assertion that “[n]o police were killed by events at the Capitol on January 6, 2021,” is misleading.

The government will not make misleading statements regarding the toll of the events of January

6, 2021, on law enforcement officers but should not be precluded from using a phrase (or similar

phrase) that, depending on the development of the facts at trial, may become relevant.

       For the reasons stated above, the defendant’s motion should be denied.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar Number 481052

                                                     /s/ Mary L. Dohrmann
                                                     MARY L. DOHRMANN
                                                     Assistant United States Attorney
                                                     NY Bar No. 5443874
                                                     555 Fourth Street N.W.
                                                     Washington, DC 20530
                                                     Mary.Dohrmann@usdoj.gov
                                                     (202) 252-7035

                                                     /s/ Alison B. Prout
                                                     ALISON B. PROUT

                                                 6
Case 1:21-cr-00038-CRC Document 85 Filed 10/06/22 Page 7 of 7




                                  Assistant United States Attorney
                                  Georgia Bar No. 141666
                                  75 Ted Turner Drive, SW
                                  Atlanta, Georgia 30303
                                  alison.prout@usdoj.gov
                                  (404) 581-6000

                                  /s/ Nathaniel K. Whitesel
                                  NATHANIEL K. WHITESEL
                                  Assistant United States Attorney
                                  DC Bar No. 1601102
                                  601 D Street NW
                                  Washington, DC 20530
                                  nathaniel.whitesel@usdoj.gov




                              7
